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                   UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
Name of U.S. District Court:              NORTHERN DISTRICT OF CALIFORNIA

U.S. District Court case number: 3:23-cv-02064-YGR

Date case was first filed in U.S. District Court: 4/27/2023

Date of judgment or order you are appealing: 10/12/2023
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
● Yes          No           IFP was granted by U.S. District Court

List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
PROFITPAY TECHNOLOGIES, INC.; a corporation; AND
TANMAY KAR, an individual




Is this a cross-appeal?          Yes           No
If Yes, what is the first appeal case number?

Was there a previous appeal in this case?                      Yes           No
If Yes, what is the prior appeal case number?

Your mailing address:
27510 Vista Bahia Way



City: Hayward                                 State: CA               Zip Code: 94542

Prisoner Inmate or A Number (if applicable):

Signature                                                               Date 11/8/2023
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                          Rev. 12/01/2018
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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
PROFITPAY TECHNOLOGIES, INC.; a corporation; AND
TANMAY KAR, an individual

Name(s) of counsel (if any):
RESHMA KAMATH



Address: 700 El Camino Real. Suite 120, #1084
Telephone number(s): 650 257 0719
Email(s): reshmakamath2021@gmail.com
Is counsel registered for Electronic Filing in the 9th Circuit?                        ● Yes          No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
ALINOR HOLDINGS, INC. d/b/a ONRIVA;
JAYESH PATEL; DEVESH PATEL; VIMAL
PATEL; AND VAJID JAFRI
INCLUSIVE,
Name(s) of counsel (if any):
MICHAEL W. STEBBINS
MARC G. VAN NIEKERK


Address: 1 North Market Street, Suite 200, SNA JOSE, CA 95113
Telephone number(s): 408 573-5700
Email(s): MWS@SVLG.COM ; MVN@SVLG.COM


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        Rev. 12/01/2018
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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         Rev. 12/01/2018
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 1                                 PROOF OF SERVICE
         F.R.C.P. 5 / C.C.P. § 1013(a)(3), C.C.P. § 1010.6(a)(6) / Cal. R. Ct. R. 2.260
 2
 3          I am employed in the County of San Mateo, California. I am over the age of
 4
     18, and not a party to this action. My business address is: 700 El Camino Real Suite
     120, #1084, Menlo Park, CA 94025, and for purposes of the service e-mail address is
 5   reshmakamath2021@gmail.com for electronic service. On November 8, 2023, I
 6
     served the following document(s), by method(s) indicated below, on the parties in this
     action: SEE ATTACHED SERVICE LIST.
 7   ///
 8   NOTICE OF APPEAL
     ///
 9   ELECTRONIC SERVICE
10   In electronically transmitting courtesy copies of the document (s) listed above to the
     email-address(es) of the person(s) set forth on the attached service list. To my
11   knowledge, the transmission was reported as complete and without error, as per the
12   electronic service agreement between all parties and their attorneys of record, herein.
     [NOTICE OF C.C.P. SECTION 1010.6.]
13
14 I declare under penalty of perjury under the laws of the State of California and the
     United States of America that the above is true and correct. Executed on November
15 8, 2023.
16
     /s/ Reshma Kamath
17 Reshma Kamath
18
     SERVICE LIST
19    MICHAEL W. STEBBINS, SBN 138326                       Attorneys  for  Defendants
20    MARC G. VAN NIEKERK, SBN 201329                       ALINOR HOLDINGS, INC.
      SILICON VALLEY LAW GROUP                              d/b/a   ONRIVA,  JAYESH
21
      1 North Market Street, Suite 200                      PATEL, DEVESH PATEL,
22    San Jose, CA 95110                                    and, VIMAL PATEL
      Telephone: (408) 573-5700
23
      Facsimile: (408) 573-5701
24    Email: mws@svlg.com; mvn@svlg.com
25
26
27
28
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                                         PROOF OF SERVICE
        Case 4:23-cv-02064-YGR Document 89 Filed 11/08/23 Page 5 of 5




 1                                 PROOF OF SERVICE
         F.R.C.P. 5 / C.C.P. § 1013(a)(3), C.C.P. § 1010.6(a)(6) / Cal. R. Ct. R. 2.260
 2
 3          I am employed in the County of San Mateo, California. I am over the age of
 4
     18, and not a party to this action. My business address is: 700 El Camino Real Suite
     120, #1084, Menlo Park, CA 94025, and for purposes of the service e-mail address
 5   is reshmakamath2021@gmail.com for electronic service. On November 8, 2023, I
 6
     served the following document(s), by method(s) indicated below, on the parties in
     this action: SEE ATTACHED SERVICE LIST.
 7   ///
 8   NOTICE OF APPEAL
     ///
 9   USPS MAIL SERVICE
10        Via United States Mail: I placed the envelope(s) for collection and mailing,
     following our ordinary business practices. I am readily familiar with this business’s
11   practice for collecting and processing correspondence for mailing. On the same day
12   that correspondence is placed for collection and mailing, it is deposited in the
     ordinary course of business with the United States Postal Service, in a sealed
13   envelope with postage fully prepaid.
14   ///
     I declare under penalty of perjury under the laws of the State of California and the
15   United States of America that the above is true and correct. Executed on November
16   8, 2023.
17 /s/ Reshma Kamath
18 Reshma Kamath
19 SERVICE LIST
20 VAJID JAFRI,                                  Via USPS MAIL SERVICE
      1065 E. HILLSDALE, SUITE 215               Defendant, In propria persona
21
      FOSTER CITY CA 94404
22    United States
23
24
25
26
27
28

                                              2
                                        PROOF OF SERVICE
